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                     UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

USA                                              §
                                                 §
vs.                                              §     No: EP:18-CR-03584(1)-KC
                                                 §
(1) Tyler James Sumlin                           §

                                           ORDER

       On this day, the Court considered Defendant's Motion for Continuance, made orally

during a status conference on February 6, 2019 in the above-captioned cause. The motion was

made because of the need for further investigation, preparation of the defense due to complex

discovery issues in the case, and/or plea negotiations. After due consideration, the Court is of

the opinion that the motion should be granted.

       The Court finds that the interests of justice outweigh the interests of Defendant and the

public in a speedy trial, in that more time is needed by Defendant for preparation of the defense

in this case, and that the time from February 6, 2019 through April 17, 2019, is excludable time

within the meaning of the Speedy Trial Act, 18 U.S.C. § 3161.

       Accordingly, it is hereby ORDERED that the Defendant's Motion For Continuance is

GRANTED. This cause is rescheduled for a status conference on April 17, 2019 at 9:30 am.

NO FURTHER CONTINUANCES WILL BE GRANTED.

       SIGNED: February 06, 2019.




                                                 ______________________________
                                                 HONORABLE KATHLEEN CARDONE
                                                 UNITED STATES DISTRICT JUDGE
